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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,               )
 BI-LEVEL PAP, AND MECHANICAL                )
 VENTILATOR PRODUCTS                         )   Master Docket: No. 21-1230-JFC
 LITIGATION                                  )
                                             )   MDL No. 3014
 This document relates to: All Actions       )
                                             )
                                             )
                                             )
                                             )

    JOINT MOTION TO HOLD THE NOVEMBER 9, 2023 STATUS CONFERENCE
                 BY TELEPHONE OR VIDEOCONFERENCE

              After meeting and conferring, all parties believe that this month’s status

conference can be held via telephone or videoconference instead of in-person. Accordingly,

the parties jointly request that the Court convert the November 9, 2023 status conference to

telephone or videoconference.
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Dated: November 2, 2023

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